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 4
                                     UNITED STATES DISTRICT COURT
 5
                                    NORTHERN DISTRICT OF CALIFORNIA
 6
                                        SAN FRANCISCO DIVISION
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 8    IN RE JUUL LABS, INC., MARKETING,                  Case No. 19-md-02913-WHO
      SALES PRACTICES, AND PRODUCTS
 9    LIABILITY LITIGATION                               [PROPOSED] ORDER APPOINTING FEE
                                                         COMMITTEE
10

11    This Document Relates to:

12    All Actions

13

14           Upon Plaintiffs’ Motion and for good cause shown, the Court orders as follows:

15               1. The Court appoints the following to a Fee Committee: Sarah London; Dean

16   Kawamoto; Ellen Relkin; Dena Sharp; Paul Kiesel; and Mark Robinson.

17               2. Settlement Master Thomas J. Perrelli’s role in facilitating settlement discussion

18   extends to facilitating discussions and helping to resolve any disputes amongst the Fee Committee

19   or other interested parties.

20               3. The Fee Committee will file by August 29th, 2023 recommended fee and expense

21   awards in connection with the JLI settlements. The Fee Committee’s recommendations will

22   encompass funds available from (1) the hold backs ordered by Case Management Order 5(A); (2)

23   the hold backs ordered by the parallel orders to CMO 5(A) issued in the JCCP; and (3) the hold

24   backs required by section 21.2 of the Personal Injury Settlement Agreement, Section 19.2 of the

25   Government Entity Settlement Agreement, and Section 19.2 of the Tribal Settlement Agreement.

26   The Fee Committee will also make a recommendation on the allocation of any class fees or costs

27   award granted under Federal Rule of Civil Procedure 23(h).

28               4. Any objections to the Fee Committee’s recommendations must be filed by

                                                               [PROPOSED] ORDER APPOINTING FEE COMMITTEE
                                                     -1-                         CASE NO. 19-MD-02913-WHO
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 1   September 15, 2023.

 2              5. The Fee Committee may file any reply to objections by October 2, 2023.

 3              6. The Court will hold a hearing on the Fee Committee’s recommendations and any

 4   objections thereto on October 11, 2023.

 5          IT IS SO ORDERED.

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      Dated: July 20, 2023
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                                                           Judge William H. Orrick
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                                                            [PROPOSED] ORDER APPOINTING FEE COMMITTEE
                                                  -2-                         CASE NO. 19-MD-02913-WHO
